
Wright, J.,
delivered tbe opinion of tbe Court.
William Cootes died intestate, leaving a widow and several children. He was seized of a tract of land in Bedford county, _put of wbicb his widow, Celia Cootes, was endowed, and in possession of wbicb dower she remained until her death, in 1857.
The petitioner, Andrew Reed, married one of tbe children of William Cootes, and she survived her father, but died before the death of the said Celia, leaving several children surviving her, who are also the children of petitioner, and born after the death of William Cootes.
The question is, whether Andrew Reed is tenant by the curtesy of his wife’s share in the lands which were assigned to Celia Cootes for her dower ? This question we answer in the negative. A man cannot be tenant by the curtesy of a remainder or reversion expectant upon an estate of freehold, unless the particular estate be determined during the cover-ture. Neither can he be tenant by the curtesy, of lands which are assigned to a woman for her dower. If a woman, on whom lands descend, endows her mother, afterwards marries, has issue, and dies in the lifetime of her mother, her husband will not be entitled to an estate by the curtesy in those lands whereof the mother was endowed — because the daughter’s seizin was defeated by the endowment. 1 Green-leaf’s Cruise on Real Property, Title Curtesy, chap. 2, secs. 23 and 25, and Title Dower, chap. 2, §§ 20, 21, 22 and 23.
The County Court so held, and we affirm the decree.
